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Counsel for RD Retiree Group, LLC


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                              )
                                              )
In re:                                          Chapter 11
                                              )
                                              )
THE READER’S DIGEST ASSOCIATION, INC., et al., Case No. 08-23529 (RDD)
                                              )
                                              ) Jointly Administered
                     Debtors,
                                              )
                                              )

    NOTICE OF APPEARANCE AND REQUEST FOR NOTICE AND DOCUMENTS

               PLEASE TAKE NOTICE that, the undersigned hereby appears as counsel for the

RD Retirees Group, LLC (“RDRG”), a party in interest herein under 11 U.S.C. § 1109(b), in the

above-captioned case.    Such counsel hereby enters its appearance, pursuant to 11 U.S.C. §

1109(b) and Federal Rule of Bankruptcy Procedure 9010, and, pursuant to 11 U.S.C. §§ 102(1)

and 342, and Federal Rules of Bankruptcy Procedure 2002 and 9007, requests that copies of all

notices given or required to be given in this case, and all papers served or required to be served

in this case, be delivered to and served upon the undersigned at the following office, post office

address, email address, fax and telephone number:

                             Christopher R. Belmonte, Esq.
                             Abigail Snow, Esq.
                             Satterlee Stephens Burke & Burke LLP
                             230 Park Avenue
                             New York, New York 10169
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               PLEASE TAKE FURTHER NOTICE that, the foregoing request includes not

only notices and papers referred to in the Federal Rules of Bankruptcy Procedure specified above

but also includes, without limitation, all other notices, papers, reports, orders, notices, agenda

letters, applications, motions, petitions, pleadings, requests, complaints or demands, statements

of affairs, operating reports, schedules of assets and liabilities, whether formal or informal,

whether written or oral, and whether transmitted or conveyed by mail, hand delivery, telephone,

telegraph, telex or otherwise, which affects the Debtor or the property of the Debtor.

               PLEASE TAKE FURTHER NOTICE that, pursuant to Federal Rule of

Bankruptcy Procedure 3017(a), RDRG requests that its counsel, Satterlee Stephens Burke &

Burke LLP, be provided with copies of any disclosure statements and plans of reorganization.

               This Notice of Appearance and Request for Notice and Documents shall not be

deemed or construed to be a waiver of the rights of RDRG to (i) have final orders in non-core

matters entered only after de novo review by a District Judge, (ii) trial by jury in any proceeding

so triable in this case or any case, controversy, or proceeding related to this case, (iii) have the

District Court or the Bankruptcy Court abstain from hearing any matter subject to such

abstention, (iv) have the District Court withdraw the reference in any matters subject to such

withdrawal, or (v) any other rights, claims, set-offs, or recoupments to which it may be entitled,

which rights it expressly reserves.

Dated: New York, New York
       September 8, 2009
                                      SATTERLEE STEPHENS BURKE & BURKE LLP
                                      Counsel for RD Retiree Group, LLC

                                      By:   /s/ Christopher R. Belmonte
                                              Christopher R. Belmonte
                                              Abigail Snow
                                      230 Park Avenue
                                      New York, New York 10169
                                      (212) 818-9200


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